            Case 1:20-cv-01932-TJK Document 106 Filed 05/03/22 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


    DISTRICT OF COLUMBIA,

                                Plaintiff,

                 v.

    EXXON MOBIL CORP., EXXONMOBIL                         Civil Action No. 1:20-cv-01932-TJK
    OIL CORPORATION, ROYAL DUTCH
    SHELL PLC, SHELL OIL COMPANY, BP
    P.L.C., BP AMERICA INC., CHEVRON
    CORPORATION, CHEVRON U.S.A. INC.,

                                Defendants.


                       DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                       NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendants write in response to the Attorney General’s notice of supplemental authority

regarding the Ninth Circuit’s decision in County of San Mateo v. Chevron Corp., No. 18-15499,

2022 WL 1151275 (9th Cir. Apr. 19, 2022).1 The D.C. Circuit has not yet addressed the issues

relevant to the pending motion to remand in this case, and the Ninth Circuit’s decision in San

Mateo is neither controlling nor persuasive for the reasons described below. The defendants in

San Mateo intend to petition for rehearing en banc and, depending on the outcome of that petition,

a petition for a writ of certiorari seeking the Supreme Court’s review of the Ninth Circuit’s

decision.

        First, the Ninth Circuit misapprehended the defendants’ arguments, stating incorrectly that

defendants “argue that the Counties’ global-warming claims arise under federal common law and



1
 By filing this response, Defendants do not waive any right, defense, affirmative defense, or
objection, including any challenges to personal jurisdiction over Defendants.

                                                 1
         Case 1:20-cv-01932-TJK Document 106 Filed 05/03/22 Page 2 of 7




are removable under two exceptions to the well-pleaded complaint rule: (1) the exception

articulated in Grable; and (2) the doctrine of complete preemption.” 2022 WL 1151275, at *4.

But as Defendants here have explained, and numerous other courts have held, federal common law

provides an independent basis for federal jurisdiction “because a claim that ‘arise[s] under federal

common law’ is ‘a permissible basis for jurisdiction based on a federal question.’” ECF No. 51 at

11 (quoting Treiber & Straub, Inc. v. U.P.S., Inc., 474 F.3d 379, 383 (7th Cir. 2007)).

       Second, the Ninth Circuit also failed to address the Second Circuit’s decision in City of

New York v. Chevron Corp., 993 F.3d 81 (2d Cir. 2021). The Second Circuit expressly held that

federal common law governs suits “seeking to recover damages for the harms caused by global

greenhouse gas emissions,” as the Attorney General’s does here. City of New York, 993 F.3d at

91. By contrast, the Ninth Circuit held that, even assuming the claims implicate federal common

law, the Clean Air Act had “displaced” the federal common law of interstate pollution and

therefore rendered removal jurisdiction impermissible by somehow empowering state law to

govern in areas where it has never before permissibly extended. 2022 WL 1151275, at *5.

       The Ninth Circuit’s reasoning erroneously conflates the merits of the claims with the

court’s jurisdiction. As City of New York illustrates, although the Clean Air Act displaces any

remedy under federal common law, it does not displace the entire source of law altogether. 993

F.3d at 95 & n.7. Whether a party can obtain a remedy under federal common law is a merits

question distinct from the jurisdictional question of whether federal common law supplies the rule

of decision in the first instance. See Oneida Indian Nation v. County of Oneida, 414 U.S. 661, 675

(1974). Moreover, as the Second Circuit explained, displacement of federal common law by a

legislative standard under the Clean Air Act does not render state law “competent to address”

disputes concerning interstate pollution. City of New York, 993 F.3d at 98; see Tex. Indus., Inc. v.

                                                 2
          Case 1:20-cv-01932-TJK Document 106 Filed 05/03/22 Page 3 of 7




Radcliff Materials, Inc., 451 U.S. 630, 640–41 (1981) (Where “uniquely federal interests” warrant

application of federal common law, it is “inappropriate for state law to control.”). Indeed, such a

result would be “too strange to seriously contemplate.” City of New York, 993 F.3d at 99.

        Third, the Ninth Circuit declined to exercise Grable jurisdiction because it concluded that

the plaintiffs’ state-law tort claims in that case did not “raise a substantial question of federal law.”

2022 WL 1151275, at *5. There is Grable jurisdiction here because Defendants’ liability for

alleged consumer deception turns on statements to federal policymakers, on federal promotion of

fossil fuels, and on foreign policy judgments, all of which necessarily implicate substantial and

disputed questions of federal law. See ECF No. 51 at 22–26.

        Fourth, San Mateo confirms that the legal standard for federal officer jurisdiction is

satisfied where, as here, a defendant supplies a product that is “used to help conduct a war.” 2022

WL 1151275, at *12 (quoting Watson v. Philip Morris Companies, Inc., 551 U.S. 142, 154

(2007)). In this case, Defendants have demonstrated that federal officers “extensively supervised

and controlled Defendants’ production of fossil fuels and development of specialized military

products in support of multiple war efforts.” ECF No. 51 at 35. This evidence was not before the

Ninth Circuit which, like the Fourth and Tenth Circuits before it, considered a more limited record.

See San Mateo, 2022 WL 1151275, at *13–15; Mayor and City Council of Baltimore v. BP P.L.C.,

No. 19-1644, 2022 WL 1039685, at *28 (4th Cir. Apr. 7, 2022); Bd. of Cnty. Comm’rs of Boulder

Cnty. v. Suncor Energy (U.S.A.) Inc., 25 F.4th 1238, 1253 (10th Cir. 2022).

        Fifth, the Ninth’s Circuit federal enclave analysis is inapposite. There, the court held that

plaintiffs had “not alleged that their claims are based on torts taking place on a federal enclave.”

2022 WL 1151275, at *7. Here, by contrast, the Attorney General seeks to hold Defendants liable

for fossil fuel sales, in addition to climate-related injuries, in the District of Columbia, including

                                                   3
         Case 1:20-cv-01932-TJK Document 106 Filed 05/03/22 Page 4 of 7




those taking place directly on federal enclaves such as the Army Air Force Exchange Service

Express stations at U.S. Army Fort Lesley J. McNair and Joint Base Anacostia-Bolling. See ECF

No. 51 at 29–30.

       Sixth, although the Ninth Circuit declined to hold that the Outer Continental Shelf Lands

Act (“OCSLA”) requires “but for” causation to establish jurisdiction, it applied an even more

stringent standard, requiring that plaintiff’s claims arise from actions or injuries occurring on the

Outer Continental Shelf (“OCS”). 2022 WL 1151275, at *10–11. This holding is inconsistent

with the “broad” jurisdictional sweep of OCSLA, Barker v. Hercules Offshore, Inc., 713 F.3d 208,

213 (5th Cir. 2013), which Congress intended to “extend to the entire range of legal disputes” that

may “arise relating to resource development” on the OCS, Laredo Offshore Constructors, Inc. v.

Hunt Oil Co., 754 F.2d 1223, 1228 (5th Cir. 1985) (cleaned up). In any event, the Attorney

General’s own Complaint repeatedly identifies “unabated” and “expanded” oil and gas extraction

as increasing greenhouse gas emissions and contributing to the District’s climate-related injuries.

ECF No. 1-14 ¶¶ 2, 101. That challenged conduct necessarily sweeps in Defendants’ significant

oil extraction activities on the OCS.

       Finally, unlike here, San Mateo did not involve removal based on diversity jurisdiction or

the Class Action Fairness Act. The Ninth Circuit’s decision, therefore, has no bearing on those

independent bases for removal.




                                                 4
         Case 1:20-cv-01932-TJK Document 106 Filed 05/03/22 Page 5 of 7




DATED: May 3, 2022

Respectfully submitted,

By: /s/ Theodore V. Wells, Jr.                 By: /s/ Theodore J. Boutrous, Jr.

Theodore V. Wells, Jr. (D.C. Bar               Theodore J. Boutrous, Jr. (D.C. Bar
No. 468934)                                    No. 420440)
Daniel J. Toal (pro hac vice)                  GIBSON, DUNN & CRUTCHER LLP
PAUL, WEISS, RIFKIND, WHARTON &                333 South Grand Avenue
GARRISON LLP                                   Los Angeles, CA 90071
1285 Avenue of the Americas                    Tel: (213) 229-7000
New York, NY 10019-6064                        E-mail: tboutrous@gibsondunn.com
Tel: (212) 373-3000
Fax: (212) 757-3990                            Thomas G. Hungar (D.C. Bar No. 447783)
E-mail: twells@paulweiss.com                   Joshua S. Lipshutz (D.C. Bar No. 1033391)
E-mail: dtoal@paulweiss.com                    GIBSON, DUNN & CRUTCHER LLP
                                               1050 Connecticut Avenue, NW
Justin Anderson (D.C. Bar No. 1030572)         Washington, DC 20036-5306
PAUL, WEISS, RIFKIND, WHARTON &                Tel: (202) 955-8500
GARRISON LLP                                   E-mail: thungar@gibsondunn.com
2001 K Street, NW                              E-mail: jlipshutz@gibsondunn.com
Washington, DC 20006-1047
Tel: (202) 223-7321                            Attorneys for Defendants CHEVRON CORP.
Fax: (202) 223-7420                            and CHEVRON U.S.A., INC.
E-mail: janderson@paulweiss.com
                                               By: /s/ James W. Cooper
Patrick J. Conlon, (D.C. Bar No. 414621)
EXXON MOBIL CORPORATION                        James W. Cooper (D.C. Bar.
22777 Springwoods Village Parkway              No. 421169)
Spring, TX 77389                               Ethan Shenkman (D.C. Bar No. 454971)
Tel: (832) 624-6336                            ARNOLD & PORTER KAYE SCHOLER
E-mail: patrick.j.conlon@exxonmobil.com        LLP
                                               601 Massachusetts Avenue, NW
Craig Thompson (D.C. Bar No. 500168)           Washington, DC 20001-3743
VENABLE LLP                                    Tel: (202) 942-5267
750 East Pratt Street, Suite 900               Fax: (202) 942-5999
Baltimore, MD 21202                            E-mail: ethan.shenkman@arnoldporter.com
Tel: (410) 244-7605                            E-mail: james.w.cooper@arnoldporter.com
Fax: (410) 244-7742
E-mail: cathompson@venable.com                 Nancy G. Milburn (pro hac vice)
                                               Diana E. Reiter (pro hac vice)
Attorneys for Defendants                       ARNOLD & PORTER KAYE SCHOLER
EXXON MOBIL CORPORATION and                    LLP
EXXONMOBIL OIL CORPORATION                     250 West 55th Street
                                               New York, NY 10019-9710
                                           5
        Case 1:20-cv-01932-TJK Document 106 Filed 05/03/22 Page 6 of 7




By: /s/ David C. Frederick                      Tel: (212) 836-8383
                                                Fax: (212) 836-8689
David C. Frederick (D.C. Bar No. 431864)        E-mail: nancy.milbum@arnoldporter.com
Grace W. Knofczynski (D.C. Bar. No.             E-mail: diana.reiter@arnoldporter.com
1500407)
Daniel S. Severson (D.C. Bar. No. 208807)       John D. Lombardo (pro hac vice)
KELLOGG, HANSEN, TODD, FIGEL &                  Matthew T. Heartney (pro hac vice)
FREDERICK, P.L.L.C.                             ARNOLD & PORTER KAYE SCHOLER
1615 M Street, NW, Suite 400                    LLP
Washington, DC 20036                            777 South Figueroa Street, 44th Floor
Tel: (202) 326-7900                             Los Angeles, CA 90017-5844
Fax: (202) 326-7999                             Tel: (213) 243-4120
E-mail: dfrederick@kellogghansen.com            Fax: (213) 243-4199
E-mail: gknofczynski@kellogghansen.com          E-mail: john.lombardo@arnoldporter.com
E-mail: dseverson@kellogghansen.com             E-mail: matthew.heartney@arnoldporter.com

Attorneys for Defendants SHELL PLC (F/K/A       Jonathan W. Hughes (pro hac vice)
ROYAL DUTCH SHELL PLC) and SHELL                ARNOLD & PORTER KAYE SCHOLER
USA, INC. (F/K/A SHELL OIL COMPANY)             LLP
                                                3 Embarcadero Center, 10th Floor
                                                San Francisco, CA 94111-4024
                                                Tel: (415) 471-3156
                                                Fax: (415) 471-3400
                                                E-mail: jonathan.hughes@arnoldporter.com

                                                Attorneys for Defendants BP PLC and BP
                                                AMERICA INC.




                                            6
         Case 1:20-cv-01932-TJK Document 106 Filed 05/03/22 Page 7 of 7




                                CERTIFICATE OF SERVICE

       I hereby certify that, on May 3, 2022, I caused the foregoing Response to Plaintiff’s Notice

of Supplemental Authority to be electronically filed using the Court’s CM/ECF system, and

service was effected electronically pursuant to Local Rule 5.3 to all counsel of record.


                                              /s/ Theodore V. Wells, Jr.
                                              Theodore V. Wells, Jr. (D.C. Bar No. 468934)




                                                 7
